            Case 2:08-cr-00116-KJM Document 114 Filed 01/05/09 Page 1 of 2


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     Designated Counsel for Service
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 3   Huntington Beach, California 92648
     Telephone: (714) 375-0628
 4
 5   Attorney for Defendant
     KEITH BROTEMARKLE
 6
 7
 8                        IN THE UNITED STATES DISTRICT COURT
 9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )       No. CR-S-08-0116 FCD
                                     )
12                  Plaintiff,       )
                                     )       STIPULATION AND ORDER BETWEEN
13        v.                         )       UNITED STATES AND KEITH
                                     )       BROTEMARKLE
14   KEITH BROTEMARKLE,              )
                                     )       MAGISTRATE:      Hon Edmund F.
15                  Defendant.       )                        Brennan
     _______________________________ )
16
17         Defendant Keith Brotemarkle and Plaintiff, by and through their
18   counsels of record, hereby agree and stipulate as follows:
19         Travel of defendant Keith Brotemarkle is, during the pendency of
20   this matter, restricted.
21         Said restrictions are expanded to include travel to and from the
22   Northern District of West Virginia and the District of Maryland.
23         Defendant’s travel to and from the above two districts is limited
24   to that which is necessary for employment related purposes.
25   ///
26   ///
27   ///
28   ///
              Case 2:08-cr-00116-KJM Document 114 Filed 01/05/09 Page 2 of 2


 1   IT IS SO STIPULATED.
 2   Dated: December 29, 2008                        McGREGOR W. SCOTT
                                                United States Attorney
 3
 4
 5
                                          By:    /s/ Ellen V. Endrizzi
 6                                              S. ROBERT TICE-RASKIN
                                                ELLEN V. ENDRIZZI
 7                                              Assistant U.S. Attorneys
 8
 9   Dated: December 29, 2008                   By:   /s/ Robert G. Gazley
                                                ROBERT G. GAZLEY
10                                              Counsel for Defendant
11
12         SO ORDERED.
13   Dated:     January 5, 2009.
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     Travel Restriction Modification/BROTEMARKLE_2
